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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION

                                CASE NO: 13-CV-20697-COOKE/Turnoff

   DONALD SMITH,

           Plaintiff,

   vs.

   ROYAL CARIBBEAN CRUISES, LTD.,

         Defendant.
   ________________________________________________/

         DEFENDANT’S MOTION TO STRIKE PLAINTIFF’S EXPERT THOMAS EBRO

           Defendant, Royal Caribbean Cruises, Ltd. (“RCL”), by and through undersigned counsel and
   pursuant to Federal Rule of Evidence 702, the Federal Rules of Civil Procedure, and the Local Rules
   of the Southern District of Florida, hereby moves this Court to strike Plaintiff’s Expert, Thomas
   Ebro, and preclude his testimony at trial, and states:
                                               INTRODUCTION
           Plaintiff claims that he sustained injuries when he was swimming in a pool onboard RCL’s
   cruise ship, M/S Liberty of the Seas, and swam into a wall of the pool. Plaintiff retained an “aquatic
   safety consultant” named Thomas Ebro as an expert witness. However, Ebro’s “methods” for
   formulating his opinions in this matter are virtually identical to those in a similar case in which the
   court struck Mr. Ebro as an expert, precluded him from testifying at trial, and held that:
           Mr. Ebro appears to apply his prior knowledge and beliefs to the facts as he sees
           them in order to formulate his opinions regarding a case, making sure that his
           opinions are not out of line with those that he considers the industry standard. That
           the Daubert reliability factors cannot legitimately be applied to Mr. Ebro’s process
           underscores its failure to constitute a methodology. Because this “method” consists
           of nothing more than Mr. Ebro processing the evidence in front of him through the
           filter of his beliefs regarding aquatic safety to form speculative, conclusory
           statements, it cannot be tested or subjected to peer review and publication and it
           certainly cannot be said to be generally accepted. See Rink, 400 F.3d at 1291-92…
           Accordingly, the Court cannot now find either that Mr. Ebro’s opinions are based
           upon a veritable methodology or that Mr. Ebro’s “methodology” is sufficiently
           reliable to allow his testimony to be presented to the jury.

   See Johnson v. Carnival Corporation, Order on Defendant’s Motion in Limine, DE 151, Case No.: 07-


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   20147-CIV-Ungaro, (S.D. Fla. 2007)(attached hereto as Exhibit “A”).


             In the present case, Ebro’s Expert Report and opinions are based on his exact same
   unreliable “methodology” that has previously been held unworthy of expert testimony. Additionally,
   Ebro’s expert report and opinions should be excluded because they are based on inaccurate or
   incomplete facts, are speculative, and do not assist the trier of fact as they are not beyond the
   understanding of the average lay person.
             Ebro should also be excluded as an expert in this matter because he recently conducted an
   unauthorized vessel inspection on February 20, 2014, in violation and circumvention of Federal Rule
   of Civil Procedure 34. Without obtaining, or even requesting, the Court’s permission to conduct
   this unauthorized vessel inspection, Plaintiff’s counsel secretly purchased a ticket for Ebro to board
   RCL’s vessel under the guise of being a passenger on a cruise, without providing notice to RCL of
   Ebro’s true purpose and without the presence of RCL’s counsel during this vessel inspection.
   Notably, Ebro utilized these underhanded tactics in the exact same case where he was subsequently
   struck as an expert and was precluded from testifying at trial. See Johnson v. Carnival Corporation,
   Order on Defendant’s Motion in Limine, DE 151, Case No.: 07-20147-CIV-Ungaro, (S.D. Fla.
   2007)(Exhibit “A”).
             Finally, as a result of the unauthorized vessel inspection conducted without Court approval,
   Ebro now intends to modify and add new opinions, two months after the Court ordered deadline to
   do so. The deadline for expert discovery and for Plaintiff to serve his expert disclosures has passed
   and Ebro should not be allowed to amend or add to his Report any opinions based on an untimely
   vessel inspection that Plaintiff’s counsel and Ebro devised in willful and contumacious disregard for
   the Federal Rules of Civil Procedure. For each of these reasons, RCL respectfully requests that this
   Honorable Court strike Ebro as an expert and preclude Plaintiff from offering his opinions at trial.
                                             MEMORANDUM OF LAW
   I.        LEGAL STANDARD ON ADMISSIBILITY OF EXPERT TESTIMONY
             The burden of laying the proper foundation for the admission of the expert testimony is on
   the party offering the expert, and admissibility must be shown by a preponderance of the evidence.
   Allison v. McGhan Med. Corp., 184 F.3d 1300, 1306 (11th Cir. 1999); see also Fla. Power & Light Co. v.
   Qualified Contrs., Inc., 2005 U.S. Dist. LEXIS 48047 (S.D. Fla. Dec. 2, 2005). Thus, the Plaintiff must
   demonstrate that the expert witness is qualified to testify competently, that his opinions are based on
   sound methodology, and that his testimony will be helpful to the trier of fact. Masferrer, 367 F. Supp.

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   2d at 1372, interpreting Allison, 184 F.3d at 1306.
            In United States v. Frazier, 387 F.3d 1244 (11th Cir. 2004), the Eleventh Circuit clearly
   delineated the responsibility of the trial court when dealing with admissibility of expert testimony:
            [I]n determining the admissibility of expert testimony under Rule 702, we engage in a
            rigorous three-part inquiry. Trial courts must consider whether: (1) the expert is
            qualified to testify competently regarding the matters he intends to address; (2) the
            methodology by which the expert reaches his conclusions is sufficiently reliable as
            determined by the sort of inquiry mandated in Daubert; and (3) the testimony assists
            the trier of fact, through the application of scientific, technical, or specialized
            expertise, to understand the evidence or to determine a fact in issue.

   Frazier, 387 F.3d at 1260; (quoting City of Tuscaloosa v. Harcros Chems., Inc., 158 F.3d 548, 562 (11th
   Cir. 1998)); see also Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579 (1993). The four nonexclusive
   factors the Supreme Court mandated in Daubert are: 1) whether the theory is scientific knowledge
   which can and has been tested; 2) whether the theory has been subjected to peer review and
   publication; 3) the known or potential rate of error and the existence of standards controlling the
   technique’s operation; and, 4) the extent to which the methodology or technique employed by the
   expert is generally accepted in the scientific community. See, Daubert, 509 US at 593-594.
            Daubert requires the trial court to act as a gatekeeper to insure that speculative and unreliable
   opinions do not reach the jury. United States v. Masferrer, 367 F. Supp. 2d 1365, 1371 (S.D. Fla. 2005)
   (King, J.) Courts have routinely rejected expert testimony where the proffered opinion has not been
   tested, has not been subjected to scrutiny of peer review, has not gained general acceptance, and is
   otherwise not founded upon “scientific methodology” and “reliable foundation.” Chikovsky v. Ortho
   Pharmaceuticals Corporation, 832 F. Supp. 341, 345 (S.D. Fla. 1993); Byrnes v. Honda, 887 F. Supp. 279
   (S.D. Fla. 1994).
   II.      EBRO’S OPINIONS AND TESTIMONY FAIL TO MEET THE LEGAL STANDARD                                  FOR
            ADMISSIBILITY UNDER DAUBERT AND THE FEDERAL RULES OF CIVIL PROCEDURE

            On January 8, 2014, Plaintiff served RCL with Ebro’s only written report in this matter.1
   Ebro’s report contained three opinions regarding his theory that Plaintiff’s alleged incident occurred



   1
     Notably, during Ebro’s deposition, Ebro admitted that he did not even draft this report and that,
   instead, Plaintiff’s counsel drafted the expert report, which Ebro merely reviewed, signed, and put
   on his company’s letter head. See Ebro dep. 34:17-35:10 (attached hereto as Exhibit “B”):

            Q:       Defendant’s Exhibit E is an e-mail to you from a Ms. Rosa, counsel for the Plaintiff's
                     office, which states, “See attached report for your review and signature,” and then it
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   because: 1) water clarity was lacking; 2) the signage in the pool area should have specifically
   prohibited horseplay and breath-hold swimming; and 3) RCL was required to have a lifeguard at the
   pool and that lifeguard would have prevented the accident. See Ebro Expert Report (attached hereto
   as Exhibit “C”); See also Ebro dep. 53. During his deposition on February 25, 2014, Ebro also
   disclosed an additional opinion, for the first time, based on his unauthorized vessel inspection: 4)
   that the design of the pool was deficient. See Ebro dep. 54.
                1) EBRO’S OPINION THAT WATER CLARITY WAS LACKING IS NOT BASED ON ANY
                   SCIENTIFIC, TECHNICAL, OR SPECIALIZED ANALYSIS AND, INSTEAD, IS NOTHING
                   MORE THAN REGURGITATION OF THE PLAINTIFF’S DEPOSITION TESTIMONY

           Expert testimony is not admissible if the expert is not qualified to testify competently about
   the matters he intends to address. See Frazier, 387 F.3d at 1260; City of Tuscaloosa v. Harcros Chems.,
   Inc., 158 F.3d 548, 562 (11th Cir. 1998)(citing Daubert, 509 U.S. at 589). As a gatekeeper, a district
   court must distinguish expert opinions “based on ‘good grounds’ from subjective speculation that
   masquerades as scientific knowledge.” Presley v. Lakewood Eng’g & Mfg. Co., 553 F.3d 638, 643 (8th
   Cir. 2009)(quoting Glastetter v. Novartis Pharms. Corp., 252 F.3d 986, 989 (8th Cir. 2001)). Further,
   Fed. R. Evid. 702(b) provides that for expert opinions to be admissible, they must be “based on
   sufficient facts or data.” An expert opinion that it is not based upon any independent investigation
   or testing and merely relies upon a limited review of deposition testimony and contracts does not
   meet Rule 702’s criteria of showing that the proposed testimony is based upon sufficient facts or
   data. Fla. Power & Light Co. v. Qualified Contrs., Inc., 2005 U.S. Dist. LEXIS 48047 (S.D. Fla. 2005)
           In his expert report, Ebro states that “[b]ased upon testimony, and the photos of the scene,
   water clarity was lacking.” See Ebro Expert Report, ¶ 7(c). However, when questioned about the truth




                   appears to be a draft of the report that is not on your letterhead, that was then later
                   put on your letterhead and sent back as the report?
           A:      You’re correct, it is --
           Q:      So, I go back to my original question. Did you draft the report or did counsel for the
                   Plaintiff?
           A:      By looking at this, it reminds me that counsel for Plaintiff, in expediting this, assisted
                   in seeing this report come forth in a timely fashion and provided me this -- these
                   pages.
           Q:      So is it accurate that counsel for the Plaintiff’s office provided you with the draft
                   report, which you then reviewed, put on your letterhead, signed, and sent back as
                   your report in this case?
           A:      Yes.
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   of that statement, Ebro admitted that the foundation of his opinion was not actually based on any
   photograph and, in fact, the only basis for that opinion is solely the Plaintiff’s deposition testimony:
           Q:      Can you hold up the specific photo that you're referring to that led you to draw the
                   conclusion that water clarity was lacking on the date of Mr. Smith's accident?

           A:       I didn't base that opinion based on the photo. I based that on the -- exclusively on
                   the Plaintiff's representation of the water as being cloudy…

           Q:      I want to make sure I understand that the sole basis for that opinion is because that's
                   what the Plaintiff told you?

           A:       Yes.

           Q:      Okay. You did nothing to independently test or verify or document the water clarity
                   on that date?

           A:      Counsel, first, the answer is yes, that's correct…

   Ebro dep. 60:18-61:21.

           In fact, Ebro even admits that he has never had a single conversation with the Plaintiff about
   this incident. Ebro dep. 6:13-15. When asked what methodology he used to formulate his opinion
   that the water clarity was lacking on the date of the alleged incident, Ebro testified that:
           A:      I did not use a methodology other than to use my eyes in reading the
                   Plaintiff's deposition wherein he claimed the pool was dirty. I had no other
                   opinions that were provided either way. I did not rely on the visuals, either the -- you
                   know, I did not have, at that point, anything except the pictures, and I didn't rely on
                   them because they did not accurately depict or provide me a reasonable basis for
                   opining about water clarity.

   Ebro dep. 63:15-23 (emphasis added).

           After deposing Ebro at length regarding his opinion that water clarity was lacking, Ebro
   finally conceded that he does not actually know the clarity of the water on the date of the incident.
           A:      I don't know if the water was clear – unclear.

   Ebro dep. 131:10-11 (emphasis added). It is clear that Ebro’s opinion regarding water clarity cannot
   be admissible as he openly admits that he does not actually know the truth of his statement.
   Further, he admits that he did not use any scientific, technical, or specialized methodology in
   formulating that opinion and, instead, the only fact or data that he relied on was merely the
   Plaintiff’s testimony, which he simply accepted as true without any independent verification and
   regurgitated as an expert opinion. The Daubert factors cannot legitimately be applied to Mr. Ebro’s
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   opinion as he failed to utilize any methodology whatsoever and his “expert” testimony would simply
   consist of restating the Plaintiff’s testimony, which would not assist the trier of fact in any way.
                  2) EBRO’S  OPINION THAT THE SIGNAGE IN THE POOL AREA SHOULD HAVE
                     SPECIFICALLY PROHIBITED HORSEPLAY AND BREATH-HOLD SWIMMING AND
                     THAT SUCH SIGNAGE WOULD HAVE PREVENTED THE ACCIDENT IS MERE
                     SPECULATION AND IS UNSUPPORTED BY THE LAW AND THE FACTS OF THE CASE

             “Expert evidence based on a fictitious set of facts is just as unreliable as evidence based
   upon no research at all.” Guillory v. Domtar Indus., Inc., 95 F.3d 1320, 1331 (5th Cir. 1996). Moreover,
   “to be permissible the expert must be in possession of the necessary facts which will allow the
   expert to form an accurate conclusion.” D & D Assocs., Inc. v. Bd. Of Educ. Of N. Plainfield, 411
   F.Supp.2d 483, 488 (D.N.J. 2006); see also Stecyk v. Bell Helicopter Textron, Inc., 295 F.3d 408, 414 (3d
   Cir. 2002) (“It is an abuse of discretion to admit expert testimony which is based on assumptions
   lacking any factual foundation in the record.”). Fed. R. Evid. 702 requires that expert testimony be
   “the product of reliable principles and methods” and that the expert reliably apply the principles and
   methods to the actual facts of the case. Fed. R. Evid. 702(c-d).
             In his expert report, Ebro states that Plaintiff’s “accident resulted because the pool wherein
   he was swimming did not have… proper warning signs which would have prevented this accident.”
   Ebro Report, ¶ 7(b). While Ebro’s Report does not state specifically what pools rules he contends
   were lacking, at his deposition he stated that “[t]he signage should have included the prohibition
   against horseplay2 and breath-hold swimming.” Ebro dep. 69:21-22. However, again, the foundation
   for Ebro’s “expert” opinion is completely lacking as it is based on his own assumptions and not the
   actual facts of the case:
             Q:      Do you know what signs were in place on the date of the incident?

             A:      No... I’m relying on the signs that I’ve been presented [in surveillance footage].

   Ebro dep. 74:21-22.

             Regarding the methodology that Ebro used to determine what language was contained on
   the signs in the surveillance footage, he testified:
             A:      I took a magnifying glass to that sign. I did not detect the language I’m critical was
                     absent…




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       Notably, when asked if Plaintiff was engaged in horseplay, Ebro replied “[n]o.” Ebro dep. 70:10-11
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           Q:      And through your magnifying glass, are you able to read all of the language on that
                   sign?

           A:      No, I just looked at the shapes and compared them with what I had, and I satisfied
                   myself that there was no reference to any language that would say no breath holding
                   and that horseplay is prohibited.

   Ebro dep. 76:3-15.

           While Ebro may be satisfied with his magnifying glass methodology, his shape comparison
   certainly has not gained general acceptance in the scientific community and is not otherwise founded
   upon “scientific methodology” and “reliable foundation” as required of proposed expert testimony.
   In fact, even Ebro admits that he was unable to determine the full language on the signs using his
   “methodology.”
           Not only is Ebro unaware of what language was actually on the subject sign, but even if the
   language that he contends should have been on the sign was absent (i.e. a prohibition against
   horseplay and breath-hold swimming) such language is not required by any statute, law, rule, or
   regulation and the duty to include such language is merely based on Ebro’s own opinion that RCL
   should be subject to this heightened duty:
           Q:       Okay. So, it is simply your opinion. It is not based upon any methodology, it is not
                   based upon any statute, it is not based upon any federal regulation. There is no law
                   you can point to, no regulation, no CFR, no coast guard rule. Is there anything you
                   can point to that tells me that on this cruise ship there was a required bullet point
                   under a sign that says swimmers, do not swim under water?

           A:      That would have been easy if you would have asked that. The answer is no, of course
                   not. There was no -- as I testified, no mandate to have that language on a sign.

   Ebro dep. 78:10-21.

           Ebro’s opinion regarding specific language that should have been on the sign and would
   have prevented the accident is simply that, just Ebro’s opinion, and as the court in Johnson
   recognized, this is “nothing more than Mr. Ebro processing the evidence in front of him through
   the filter of his beliefs regarding aquatic safety to form speculative, conclusory statements, it cannot
   be tested or subjected to peer review and publication and it certainly cannot be said to be generally
   accepted.” See Johnson v. Carnival Corporation, Order on Defendant’s Motion in Limine, DE 151, Case
   No.: 07-20147-CIV-Ungaro, (S.D. Fla. 2007).



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            Furthermore, any opinion regarding language on the signs is irrelevant as Plaintiff testified
   that he did not even read the signs.3 When Ebro was questioned about this, he agreed that the
   absence of the language that he contends should be on the sign has no impact on this case:
            Q:       Okay. Now, would you agree with me that if Mr. Smith said he didn't read the signs,
                     it wouldn't really matter what that signs said because he didn't read it?

            A:        Well, I disagree that it wouldn't matter what it says. It does matter for the reasons I
                     just gave, but if Mr. Smith didn't read it, then he would not have had that instruction
                     had it said what I felt needs to be on the sign. He would not have had that
                     information simply because, as you said, he would not have read it. That doesn't
                     preclude that the sign shouldn't have had the necessary information contained.

            Q:       Well, it just means it wouldn't have had any impact on this case because he
                     would not have read it.

            A:       That's correct. That's good. That's good. I agree with that.

   Ebro dep. 84:21-85-11 (emphasis added).

            Ebro’s opinion regarding the language on signs cannot be admissible as he not only openly
   admits that he does not actually know what language was on the signs, but he also cannot point to a
   single authority that supports his opinion. In fact, no statute, rule, regulation, or law requires RCL
   to have Ebro’s proposed language on its signs and Ebro simply seeks to hold RCL to an improper
   heightened standard of care. Plaintiff himself admits that he did not even read the sign and,
   therefore, Ebro’s opinion has no impact on this case and would not assist the trier of fact.
                 3) EBRO’S OPINION THAT RCL WAS REQUIRED TO HAVE A LIFEGUARD AND THAT A
                     LIFEGUARD WOULD HAVE PREVENTED THE ACCIDENT IS NOT ONLY A
                     MISSTATEMENT OF THE LAW BUT IS ALSO ENTIRELY SPECULATIVE

            Ebro’s Report states that “[c]ruise ships must have lifeguards on duty” and that a lifeguard
   would have prevented this accident. Ebro Report, ¶ 7(b) & (d). However, RCL did not have a legal
   duty to provide a lifeguard at its pool and its only duty was to exercise reasonable care under the
   circumstances. Kermarec v. Compagnie Generale Transatlantique, 358 U.S. 625, 79 S. Ct. 406, 3 L. Ed. 2d
   550 (1959). A vessel owner is not an insurer of its passengers’ safety and it does not necessarily

   3
    At his deposition, Plaintiff testified as follows:
           Q:      Do you recall whether there was a sign around the pool with pool rules?
           A:      I don't recall.
           Q:      Do you remember reading anything about the pool rules?
           A:      No.
   Smith dep.149:14-19 (attached hereto as Exhibit “D”).
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   follow that an accident will never happen if a cruise ship operator exercises reasonable care under
   the circumstances. Joseph v. Carnival Corp., Case No. 11-20221-CIV-HUCK, 2011 U.S. Dist. LEXIS
   80238 at *8 (S.D. Fla. July 22, 2011)(citing Luby v. Carnival Cruise Lines, Inc., 633 F. Supp. 40, 41 n.1
   (S.D. Fla. 1986) (“The vessel is not, however, the insurer of the safety of the passengers. Merely
   because an accident occurs, a carrier does not become liable to a passenger.”).
           In the Eleventh Circuit, an expert may not testify as to legal conclusions. See, e.g., United States
   v. Delattore, 308 Fed.Appx. 380 (11th Cir. 2009): see also St. Cyr v. Flying J Inc., 2008 U.S. Dist. LEXIS
   107653 (M.D. Fla. 2008) (excluding testimony of defense expert regarding plaintiffs’ duty); Brown v.
   Bray & Gillespie III Mgmt. LLC, 2008 U.S. Dist. LEXIS 45673 *14-15 (M.D. Fla. 2008) (striking
   expert’s statement as constituting a “legal conclusion as to what standard of care hotel operators
   owe their guests”); Burkhart v. Washington Metropolitan Area Transit Authority, 112 F.3d 1207, 1213
   (D.C. Cir. 1997) (“Each courtroom comes equipped with a ‘legal expert,’ called a judge, and it is his
   or her province alone to instruct the jury on the relevant legal standards.”).
           Ebro’s statement in his Report that cruise ships must have lifeguards and that a lifeguard
   would have prevented the subject incident is an impermissible legal conclusion regarding a duty that
   does not exist under the law. Ebro’s opinion would instruct the fact finder to hold RCL to a duty
   that does not exist under the law and then conclude that RCL breached that improper duty. In fact,
   Ebro even admits that there is no rule, regulation, statute, code, or anything else that required a
   lifeguard to be at the subject pool:
           Q:      The question is, is there any rule, regulation, statute, code or et cetera that required a
                   lifeguard to be at this specific pool?

           A:      And I answered. At this specific pool, no…

   Ebro dep. 87:2-5.

           Further illustrating the complete lack of foundation and reliability that characterize all of
   Ebro’s opinions in this matter, Ebro’s claims that the applicable “industry standard” is based on his
   own credentials, training time, and experience or, in other words, Ebro’s expert opinion is based on
   the fact that he considers himself an expert and has an opinion:
           Q:      Now, you've stated that the industry standard would have been to have lifeguards
                   around this pool, correct?

           A:          Yes.



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           Q:      Can you point me to any law, regulation, statute, et cetera, applicable to this specific
                   pool that required lifeguards to be in place?

           A:      The operative term in your question is this particular pool. You know what I've read

           Q:       The pool at issue in this case. There is only one pool at issue here.

           A:      No, sir, we're talking about a public pool. We're talking about a public pool, we're
                   talking about standards you're asking, and I'm not limiting it to this pool. As it was,
                   you didn't even want me to be on this pool, so I wouldn't have even seen it. I just
                   happened to glance in quick -- glance at it so I can, you know, be more relevant in
                   my answers, but this pool, no, I didn't read any prohibitions against this pool, but
                   this pool -- I'm a safety expert. I'm a safety aquatic expert. My credentials if
                   you asked -- whether this pool was on a ship or whether it was on an airplane
                   or on a space station, if I was asked to say go up there, there's a pool up there,
                   tell me if it's safe, my credentials allow me to do that. So, it is irrelevant to me
                   in terms of where the pool is. I'm applying and giving you an opinion based
                   on my training, time, and experience and the expertise I just referenced.

   Ebro dep. 85:15-86:17.

           The fact that Ebro came to the conclusion that cruise ships must have lifeguards on duty,
   based his “expertise,” despite his admission that there is not a single rule, regulation, statute, code, or
   anything else that actually required a lifeguard to be at the subject pool, underscores the importance
   of his disqualification as an “expert” in this field.
           Additionally, expert testimony cannot be based on speculation. See Daubert v. Merrell Dow
   Pharms., Inc., 509 U.S. 579, 589 (1993); Allison v. McGhan Medical Corp., 184 F.3d 1300, 1316-1317
   (11th Cir. 1999) (“Under the regime of Daubert … a district judge asked to admit scientific evidence
   must determine whether the evidence is genuinely scientific, as distinct from being unscientific
   speculation...”)(quoting Rosen v. Ciba-Geigy Corp., 78 F.3d 316, 318 (7th Cir.1996)). Ebro opines that
   a lifeguard would have prevented the accident because he or she would have observed Plaintiff
   swimming underwater holding his breath and would have stopped him before he had his chance to
   do his third swim. Ebro dep. 94:1-7. Not only is this testimony pure speculation, but whether the
   incident was preventable is not even the relevant inquiry. By opining that the subject incident was
   preventable, Ebro offers a second incorrect legal standard. Further, his opinion is not based on any
   reliable, proven methodology. When asked about the methodology he used to determine that if a
   lifeguard had been present, this accident would have been prevented, Ebro replied:
           A:      Well, I started with common sense, and then I used my education, training, and
                   experience, and then I went to the pool and considered as to what a lifeguard -- what
                   his means was…
                                                           10
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   Ebro dep. 93:10-16.

           However, “nothing in either Daubert or the Federal Rules of Evidence requires a district
   court to admit opinion evidence which is connected to existing data only by the ipse dixit of the
   expert.” S. Grouts & Mortars, Inc. v. 3M Co., 2008 U.S. Dist. LEXIS 70222 (S.D. Fla. Sept. 16,
   2008)(quoting Cook ex rel. Estate of Tessier v. Sheriff of Monroe County, Fla., 402 F.3d 1092, 1111 (11th
   Cir. 2005).
           Notably, Ebro’s opinions regarding the use of lifeguards are the exact same opinions that
   Ebro advanced in Johnson v. Carnival Corporation. See Order on Defendant’s Motion in Limine, DE
   151, Case No.: 07-20147-CIV-Ungaro, (S.D. Fla. 2007). In that case Ebro also opined that “industry
   standards . . . recommended that commercial pool operations required the use of trained lifeguards”
   and “the use of ‘proactive supervision’ through lifeguards would have prevented this accident.” Id. at
   8. However, the Johnson court struck Ebro’s opinions because his “‘method’ consists of nothing
   more than Mr. Ebro processing the evidence in front of him through the filter of his beliefs
   regarding aquatic safety to form speculative, conclusory statements, it cannot be tested or subjected
   to peer review and publication and it certainly cannot be said to be generally accepted.” Id. at 9.
           After Ebro was deposed at length regarding this opinion, he again eventually conceded that
   based on the Plaintiff’s own deposition testimony, even if a lifeguard was on duty, they may not
   have been able to recognize that Plaintiff was attempting to swim underwater while holding his
   breath or have been able to prevent this incident:
           Q:      Okay. Then looking at page 36 [of Plaintiff’s deposition transcript], which you're
                   relying upon, where it discusses on line 12 that he was swimming for 15 to 20
                   minutes and attempted the couple of laps during that 15 to 20-minute period, don't
                   you believe that's a sufficient amount of time by which a lifeguard may not
                   have recognized this man was attempting to swim from end to end of the pool
                   under water?

           A:      Yes.

   Ebro dep. 115:16-24 (emphasis added).

           The truth is that nobody knows what might have happened under a different set of facts
   than what actually occurred and Ebro’s opinions based on his own assumption of facts not in the
   record are not only speculative but also admittedly incorrect. These unreliable and baseless opinions
   should be stuck as well and Plaintiff should not be allowed to present these opinions at trial.


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               4) EBRO’S  OPINION REGARDING DESIGN DEFICIENCIES CITES NUMEROUS LAND
                   BASED STATUTES THAT DO NOT APPLY TO CRUISE SHIP POOLS

          During his deposition Ebro also disclosed, for the first time, an additional opinion based on
   his unauthorized vessel inspection, in which he claims that RCL is liable because the subject pool
   design did not comply with certain statutes and regulation:
          Q:       Now, you agree with me that that opinion is being disclosed for the first time today,
                   correct?

          A:       Yes.

          Q:       And I believe you said that your opinions are based upon -- I don't -- hold on. It's
                   your reading of Florida Statute 64E-9, and you believe Royal Caribbean did not
                   follow the construction guidelines contained within that statute, correct?

          A:       Yes.

          Q:       Okay.

          A:       I said more than that, but to your question right now, yes.

          Q:       Well, no, no, no. I want to get it all, so what else is there?

          A:       I indicated to you that this industry standard that we're now going to be talking
                   about was advanced by the Council for National Cooperation in Aquatics way back
                   in 1987, that it emphasized the need to demarcate the top of a pool wall, the leading
                   edge of submerged steps, and protruding underwater ledges or swim-outs so as to
                   maximize their visibility. Now, in addition, ANSI -- you asked me about that --
                   ANSI/NSPI, which currently has been renamed to APSP, for decades has prescribed
                   industry standards along the same lines, prohibiting underwater protrusions and
                   obstructions in the swimming pool basin that may cause injury to bathers. You
                   indicated earlier that you have already consulted the ICC's, the International Code
                   Council's Swimming Pool and Spa Code, that it likewise prescribes that the leading
                   edges of submerged seats, benches, and swim-outs including submerged tanning
                   ledges or sun shelves, you know, plus leading edges of submerged pool steps shall be
                   distinguished by a color contrasting with the adjacent color of vertical surfaces. And
                   the State of Florida we did discuss, but know that's included, but that probably has
                   the strongest, you know, mandate type power, that it has codified such industry
                   standards in this Chapter 64E-9. It's a Department of Health regulation, and it
                   pertains to the public swimming pools and bathing places. Those are the standards
                   that I referenced and that I brought along in addition with other industry
                   publications representing other organizations that are like minded.

   Ebro dep. 116:1-117:21.



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           Most notably, the very first agency that Ebro indentifies that advanced the “industry
   standard” that he claims applies in this case is the Council for National Cooperation in Aquatics, an
   organization that formally ceased all operation in the late 1990s and is no longer in existence, much
   less generally accepted in the scientific community. When questioned regarding the applicability of
   land based statutes such as ANSI/NSPI or APSP to cruise ship pools specifically, Ebro could only
   proffer his own opinion that he believes the cited material should apply:
           Q:      All right. So, let's go through these one by one. We can start with ANSI. I have it in
                   front of me. First question, does this apply to a cruise ship? What law actually says
                   this is applicable as a standard that a cruise ship needs to follow when building a
                   swimming pool?

           A:      I'm not aware of any of the language the way you just phrased it.

           Q:      Well, is there anything out there that says that a cruise ship needs to follow this when
                   building a pool?

           A:      Well, not in the way you phrased it. A cruise ship, in my opinion, when it builds a
                   pool, it needs to comply with industry standards…

   Ebro dep. 45:23-46:11 (emphasis added).

           Regarding Florida Chapter 64E-9 and other Florida regulations:

           Q:      Okay. Does chapter 64E-9 of the Florida code or these Florida regulations, do they
                   apply to cruise ships?

           A:      In my opinion, yes.

           Q:      Are they legally binding on a cruise ship? Not because you want it to be, I
                   understand that. Does the law actually apply to a cruise ship?

           A:      Counsel, I don't know because I'm not a lawyer. I can only give you an opinion
                   based on what I know, and because the cruise ship is in Florida, because this is an
                   activity -- boarding and use -- and facility use in Florida, because it is a state in which
                   this activity and this injury was taking place, it's my non-lawyerly understanding that
                   what Florida deems necessary for public pool operators and designers to comply
                   with is that 64 provision.

           Q:      But you're not a lawyer and you're not trying to interpret the statute in terms of
                   whether or not it's legally binding, correct?

           A:      No, sir. What normally happens is that lawyers ask me for my interpretation. It may
                   or may not be correct, but lawyers are not aquatic specialists any more than I'm a
                   lawyer and so I do the best I can, and you may find that I may be wrong,

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   Ebro dep. 117:22-118:20 (emphasis added).

           The problem with Ebro’s opinions is that he is not a legal expert and has no credibility when
   it comes to the legal application of a land based statute or a regulation to cruise ship pools
   specifically. “Experience, standing alone, is [not] a sufficient foundation rendering reliable any
   conceivable opinion the expert may express.” United States v. Masferrer, 367 F. Supp. 2d 1365 (S.D.
   Fla. 2005). As Ebro admits, he is not a lawyer and simply doesn’t know whether Florida regulations
   are binding on a cruise ship. Because of his role as Plaintiff’s “aquatic safety specialist,” Ebro would
   like these statutes to apply in this case but he simply lacks the legal expertise to give a reliable
   opinion regarding their applicability.
           The foundation of Ebro’s opinion seems to be that, because the cruise ship happens to Port
   in Florida, the Florida codes and regulations apply. However, extrapolating on Ebro’s theory, a
   cruise ship would then have the responsibility to comply with every code and regulation in every
   state and country in which it ports. Not only would this place a heightened duty on the cruise lines,
   but could also result in the impossibility of compliance with that heightened duty if two states had
   conflicting regulations. Not only is Ebro’s theory confusing and unsupported by the law, but it
   would place a heightened duty of care on the cruise line and mislead the trier of fact. Coquina Invs. v.
   Rothstein, 2011 U.S. Dist. LEXIS 120267 (S.D. Fla. Oct. 18, 2011)(“The trial court’s gatekeeping
   function requires more than simply taking the expert’s word for it.”)
   III.    EBRO SHOULD BE STRUCK AS AN EXPERT AND HIS TESTIMONY PRECLUDED FROM
           TRIAL AS A SANCTION FOR HIS AND PLAINTIFF’S COUNSEL’S WILLFUL AND
           CONTUMACIOUS VIOLATION OF THE FEDERAL RULES OF CIVIL PROCEDURE

           Federal Rule of Civil Procedure 34(a)(2) provides that “[a] party may serve on any other
   party a request… to permit entry onto designated land or other property possessed or controlled by
   the responding party, so that the requesting party may inspect, measure, survey, photograph, test, or
   sample the property or any designated object or operation on it.” The Rule requires the requesting
   party to describe with reasonable particularity the scope of the inspection and must specify
   reasonable time, place, and manner for the inspection. This provides the responding party with
   notice of the inspection and allows an opportunity to object to the request.
           In Baugus v. CSX Transp., Inc., 223 F.R.D. 469, 471 (D. Ohio 2004) the court excluded
   videotape taken surreptitiously of a railroad yard by the plaintiff in violation of Federal Rules of Civil
   Procedure 34.     The court stated that the Rule was designed “to prevent exactly this sort of
   undertaking,” noting the many safeguards that were not followed, including, an opportunity for the

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   other side to be present and have the assistance of counsel. The Baugus court explained the
   important purpose of the Rule’s safeguards as follows:
           Such assistance helps ensure that what is seen or done is pertinent, and that any
           record that is created is accurate. Such assistance also lessens the likelihood of later
           dispute or challenge to the admissibility of evidence about what was done or seen. It
           avoids, in a word, the kind of eve-of-trial motion in limine that defendant has had to
           bring in this case.

           Rule 34, by enabling a court, rather than a single party, to decide whether to permit entry,
   and if permitted, to prescribe its conditions, also allows a “balancing of the degree to which the
   proposed inspection will aid in the search for truth against the burdens and dangers created by the
   inspection.” Teer v. Law Engineering and Environmental Services, Inc., 176 F.R.D. 206 (E.D.N.C. 1997)
   (citing Belcher v. Bassett Furniture Industries, Inc., 588 F.2d 904 (4th Cir.1978)). When a party acts
   unilaterally, this balancing cannot occur.
           In the present case, Plaintiff’s counsel and Ebro intentionally violated the long-standing
   Rules of Civil Procedure by purchasing Ebro a cruise ticket so that he could conduct an
   unauthorized vessel inspection under the guise of being a cruise passenger without ever notifying
   RCL of his true purpose.
           Q:      Okay. Let's talk about the inspection you made of Liberty of the Seas on Thursday,
                   February 20th. We were provided at 9:30 this morning with approximately 100
                   photographs and some videos of a -- what you call a vessel inspection that you did
                   last Thursday, February 20th, is that correct?

           A:      That's correct.
           Q:      Was that -- are those photographs and videos items that you took under the guise of
                   being a passenger on board Liberty of the Seas?

           MR. ROBERTSON: Object to the form of the question.

           Q:      You can answer.

           A:       No, I wasn't a passenger. It was an unannounced inspection that I asked for to be
                   accommodated and was.

           Q:      Was a ticket purchased for you as a passenger on board Liberty of the Seas?

           A:      Yes.

           Q:      Would that not be, at least as far as Royal Caribbean knew then, you were a
                   passenger on board that ship?


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          A:       I can't put myself in the mind of Royal Caribbean. I presume that if I bought a ticket,
                   they presumed I was on there. They had no idea, surely, that I was there for just
                   trying to see what the pool looked like and to gain some documentation so I could
                   be conversant in this deposition.

          Q:       In which case I'll go back to my original questions, which was, you boarded Liberty
                   of the Seas under the guise of being a passenger?

          MR. ROBERTSON: Object to the form of the question.

          A:       That's one way of saying it, yes.

   Ebro dep. 15:18-17-1.

          Plaintiff’s counsel’s and Ebro’s tactics demonstrate a complete disregard for the judicial
   process and this Court’s authority. The underlying and important purposes of Rule 34 can only be
   upheld if this motion is granted.
          Additionally, Ebro’s photographs and videotape obtained during the unauthorized vessel
   inspection do not depict the pool as it existed on the date of the Plaintiff’s alleged incident and are
   therefore irrelevant and immaterial to the case. “Relevant evidence” means evidence having any
   tendency to make the existence of any fact that is of consequence to the determination of the action
   more probable or less probable than it would be without the evidence. See Fed. R. Evid. 401.
   Evidence which is not relevant is not admissible. See Fed. R. Evid. 402. Further, even Ebro’s
   himself claims that his photographs and videotape do not accurately depict what Plaintiff would
   have seen underwater:
          A:       This picture is if a person was wearing goggles. The picture I didn’t take and the
                   picture that represents what Mr. Smith saw is one that is yet to be taken. When I do
                   a site inspection when it’s court allowed and when you’re there and everything, then
                   I’ll go down there and take the picture differently with video and so on and then
                   you’ll see that this is not sufficient.

   Ebro dep. 125:9-16.

          Not only does Ebro acknowledge that his vessel inspection was not court allowed, but his
   statement underscores the importance of complying with the Federal Rules of Civil Procedure.
   Because he was sneaking around on RCL’s property instead of conducting a Court approved vessel
   inspection with RCL’s counsel in attendance, Ebro failed to gather relevant photographs and
   videotape. Because Plaintiff’s counsel failed to comply with the Federal Rules of Civil Procedure in
   requesting a vessel inspection prior to the Court’s discovery deadlines, Ebro should be struck as an

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   expert and Plaintiff should be precluded from offering his testimony and the irrelevant photographs
   and videotape from the unauthorized vessel inspection at trial.
           Additionally, a purported expert witness should not be allowed to imply to the jury that his
   unauthorized vessel inspection was due to any improper conduct on the part of RCL. Ebro’s
   statements that he needed to circumvent the Rules so that the scene would not be “sanitized” or
   presented differently are simply false allegations with no factual basis and he should not be
   permitted to wrongly influence the tier of fact. Plaintiff and his expert should not be permitted to
   break the Rules and then create a false and negative impression about the Defendant to the jury.

   IV.     EBRO’S NEW OPINIONS BASED ON HIS UNAUTHORIZED VESSEL INSPECTION ARE
           UNTIMELY AND SHOULD BE STRUCK AS THEY WERE DISCLOSED FOR THE FIRST TIME
           DURING HIS DEPOSITION ALMOST TWO MONTHS AFTER THE EXPERT REPORT
           DEADLINE
           The deadline for Plaintiff to furnish his expert witness list to RCL, along with the summaries
   and reports required by Fed. R. Civ. P. 26(a)(2), was January 8, 2014. See Court’s Orders, DE 15, 16.
   Compliance with the Court’s Orders and Rule 26 “is not merely aspirational.” Collado v. Carnival
   Corp., 2011 U.S. Dist. LEXIS 83400 (S.D. Fla. July 29, 2011)(citing OFS Fitel, LLC, 549 F.3d at
   1363.). Rather, Rule 26(a)(2)(B) “is intended to provide opposing parties reasonable opportunity to
   prepare for effective cross examination and perhaps arrange for expert testimony from other
   witnesses.” Id. Fed. R. Civ. P. 37 provides sanctions for violations of Rule 26(a)(2)(B), including
   striking the expert witness altogether.
           Plaintiff’s counsel violated Fed. R. Civ. P. 34 by purchasing a ticket for Plaintiff’s Expert to
   conduct an unauthorized vessel inspection almost two months after the Plaintiff furnished Ebro’s
   Expert Report to RCL. Besides the obviously troubling nature of Plaintiff’s counsel’s complete
   disregard for the Federal Rules, these actions have also severely prejudiced RCL’s ability to
   effectively cross examine Ebro regarding his new opinions because they based upon his findings at
   that ex parte inspection and he disclosed them, for the first time, at his deposition on February 25,
   2014. In fact, Ebro even testified that his previous report (the only Report ever provided to RCL) is
   now no longer accurate, does not contain all the bases and reasons for his opinions, and does not
   contain all the facts and data considered in formulating those opinions:
           Q:      Okay. So going back to your report, the January 6th, report, it would be inaccurate or
                   incorrect to state that this report contains all of the opinions you intend to testify to
                   in this case, correct?

           A:      Yes, that's correct.

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           Q:      It would also be inaccurate to state then that this report contains all the bases and all
                   the reasons for your opinions, correct?

           A:      Same answer inasmuch as I've made clear that there are additional reports --
                   additional opinions that I've gained because of the opportunity to visit the pool in
                   question was not made available at the time I was writing this report.

           Q:      Likewise, this report does not contain all of the facts and data considered by you in
                   forming your opinions, correct?

           A:      It is correct only in that it omits the exposure I had to the pool in question and the
                   experience and documentation I engaged in.

   Ebro dep. 59:11-60:4.

           In Collado, the plaintiffs similarly submitted their expert disclosure after the court-ordered
   deadline. Collado, 2011 U.S. Dist. LEXIS 83400 at *3. The plaintiffs never sought an extension of
   time before the relevant deadlines had passed, nor did they seek leave from the court to submit the
   disclosure out of time. Id. The court found that permitting plaintiffs’ expert to testify would
   prejudice the defendant, who was not able to depose her or obtain a rebuttal expert. Moreover, the
   court held that extending discovery at a late stage in litigation was inappropriate (a joint pretrial
   stipulation was due in less than a month and trial was in two months). Id. at *5. The court was
   equally unpersuaded by the plaintiffs’ argument that they would be “severely prejudiced” if their
   expert was excluded. Id.
           In the present case, Plaintiff similarly failed to disclose his expert’s opinion regarding alleged
   design defects prior to the Court-ordered deadline for expert disclosures. Not only did Plaintiff fail
   to request an extension of time before the relevant deadlines had passed, but also intentionally
   circumvented the Court and the Rules by secretly conducting the underlying vessel inspection that
   served as the basis for Ebro’s new opinions. Permitting Ebro to testify would prejudice RCL, as
   counsel for RCL was unable to adequately prepare to effectively depose Ebro on his new opinions
   or obtain a rebuttal expert. Moreover, expert discovery is not closed and joint pretrial stipulations
   are due in two months and trial will be held in three months. Plaintiff’s counsel and Plaintiff’s
   expert, Ebro’s, tactics should cannot possibly be considered substantially justified or harmless and
   Plaintiff should be sanctioned by striking Ebro from testifying as an expert in this case.




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           WHEREFORE, Defendant, Royal Caribbean Cruises Ltd., respectfully requests that this
   Honorable Court strike Thomas Ebro as an expert and preclude Plaintiff from introducing any of
   his opinions at trial.
           Dated: March 4, 2014
                  Miami, Florida
                                                    Respectfully submitted,

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                                      CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that the foregoing was electronically filed via CM/ECF on this 4 th
   day of March, 2014. I also certify that the foregoing was served on all counsel or parties of record on
   the attached Service List either via transmission of Notices of Electronic Filing generated by
   CM/ECF or in some other authorized manner for those counsel or parties who are not authorized
   to receive electronic Notices of Filing.
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